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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
               v.                              )      No. 22-cr-15 (APM)-7
                                               )
       JOSEPH HACKETT,                         )
                                               )
                       Defendant.              )
                                               )

                                              ORDER

       AND NOW, this _____ day of ________________, 2022, upon consideration of

Defendant’s Consent Motion to Modify Conditions of Pretrial Release, it is hereby ORDERED

that the motion is GRANTED. Defendant Joseph Hackett’s Additional Conditions of Pretrial

Release, 7(t), shall be modified to reflect the following:


Defendant is not to have any access to computers, smartphones, tablets or any device that would
allow him to communicate through either encrypted or non-encrypted applications; however,
Defendant shall be permitted to personally access a desktop or laptop computer for video and/or
audio conferences with counsel and to connect to remote Court proceedings. Further, Defendant
shall be permitted access to a desktop or laptop computer under the following limited conditions:
1) to review discovery materials that are not subject to the Protective Order by himself, and 2) to
review discovery materials subject to the Protective Order with counsel via video conference.


       All other conditions of Pretrial Release shall remain the same.

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                                               _____________________________
                                               The Honorable Amit P. Mehta
                                               United States District Court Judge
